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 7
     Attorneys for Plaintiff and Counter-Defendant
 8

 9                            UNITED STATES DISTRICT COURT
10                        CENTRAL DISTRICT OF CALIFORNIA
11   THERMOLIFE INTERNATIONAL, LLC, Case No. 13-cv-6888 RGK (PLAx)
12               Plaintiff,                     Hon. R. Gary Klausner
13               vs.                            STIPULATION FOR DISMISSAL
                                                WITH PREJUDICE PURSUANT TO
14   COMPLETE NUTRITION HOLDINGS,               FEDERAL RULE OF CIVIL
     INC.,                                      PROCEDURE 41(a)(1)(A)(ii)
15
             Defendant
16   COMPLETE NUTRITION HOLDINGS,
     INC.,
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                 Counter-Claimants,
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                 vs.
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     THERMOLIFE INTERNATIONAL, LLC
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                 Counter-Defendant.
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                                   STIPULATION FOR DISMISSAL
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 1         TO THE COURT AND ALL PARTIES:
 2         IT IS HEREBY STIPULATED, by Plaintiff and Counter-Defendant Thermolife
 3   International, LLC and Defendant and Counter-Claimant Complete Nutrition Holdings,
 4   Inc., that in accordance with the terms and conditions of the Settlement Agreement
 5   entered into between the parties on February 10, 2014, this Court dismiss this Action
 6   with prejudice pursuant to 41(a)(1)(A)(ii). Each party is to bear its own fees and costs.
 7

 8                                          Respectfully submitted,
 9   Dated: March 19, 2014                     NEWPORT TRIAL GROUP
10

11
                                               By:      /s/ Tyler Woods
                                                         Tyler Woods
12                                             Attorneys for Plaintiff
13
                                               THERMOLIFE
                                               INTERNATIONAL, LLC
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15
     Dated: March 19, 2014                     PATTON BOGGS LLP

16
                                               By:      /s/ Eli Z. Tomar
                                                          Eli Z. Tomar
17                                             Attorneys for Defendant
18
                                               COMPLETE NUTRITION
                                               HOLDINGS, INC.
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                                    STIPULATION FOR DISMISSAL
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 1                                CERTIFICATE OF SERVICE
 2         I hereby certify that on March 19, 2014, I electronically filed the foregoing
 3   STIPULATION FOR DISMISSAL WITH PREJUDICE PURSUANT TO
 4   FEDERAL RULE OF CIVIL PROCEDURE 41(a)(1)(A)(ii) with the Clerk of the
 5   Court using the CM/ECF system which will send notification of such filing via
 6   electronic mail to all counsel of record.
 7
                                                 /s/Tyler J Woods
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                                                      Tyler J Woods
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                                      CERTIFICATE OF SERVICE
